                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       CASE NO. 3:13-00090
                                                  )       JUDGE SHARP
MERIN OMAR POLANCO-GUEVARA [7]                    )
                                                  )

                                         ORDER

       Pending before the Court is Defendant’s Request for a Change of Plea Hearing (Docket

No. 214).

       The motion is GRANTED and a hearing on a plea of guilty in this matter is hereby

scheduled for Wednesday, October 16, 2013, at 1:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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